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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________

UNITED STATES OF AMERICA,

                                                               03-CR-6044T

                   v.                                          DECISION
                                                               and ORDER
MELVIN FLECHA-MENDOZA,


                         Defendant.
________________________________________

                                  INTRODUCTION

       Defendant     Melvin     Flecha-Mendoza      (“Flecha-Mendoza”),             by

superseding indictment, is charged with several offenses including

conspiracy to possess with intent to distribute, and to possess

with intent to distribute heroin and cocaine in violation of 21

U.S.C. § § 841(a)(1)(B), 841(b)(1)(C) and 846.

       This case was referred to Magistrate Judge Marian W. Payson

for pretrial proceedings by Order dated May 30, 2003.                 Thereafter,

the defendant moved to suppress photographic identifications of him

made by two confidential informants on grounds that the procedures

used in obtaining the identifications were unduly suggestive.                       By

Report and Recommendation dated January 13, 2005, Judge Payson

concluded     that      the   procedures   were    unduly     suggestive,       and

recommended that further proceedings be held to determine whether

or     not   a   reliable,       independent      basis     existed      for    the

identifications made by the confidential informants.                     By Order

dated February 17, 2005, I adopted Judge Payson’s Report and
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Recommendations, and referred the matter to Judge Payson for

further proceedings with respect to determining whether or not the

identifications were reliable independent of the unduly suggestive

proceedings.

       Pursuant to my February 17, 2005 Order, Judge Payson held

further hearings at which the confidential informants were called

to testify.       The informants, in general, testified as to their

numerous previous interactions with the persons they identified in

the photographs. Following the hearing, Judge Payson, on November

10,    2005,    issued    a    Report   and   Recommendation         in    which    she

recommended that the defendant’s motion be denied on grounds that

an independent basis for the identifications existed: to wit, that

the confidential informants had had extensive contact with the

defendant      prior     to    identifying    him   during     the    photographic

identification procedure.           Judge Payson concluded that because the

informants had known the defendant and had had dealings with him on

several      occasions,       an   independently    reliable    basis        for    the

identifications existed.

       Defendant objects to Judge Payson’s Report and Recommendation

on grounds that evidence adduced at the hearings does not support

a finding that the informants knew him well enough to identify him

absent the unduly suggestive identification procedure. He contends

that   the     unduly    suggestive     procedure   irreparably       tainted       the

identification of him by the informants and accordingly, the


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identification evidence should be suppressed.                 For the reasons set

forth below, I deny defendant’s motion.

                            STANDARD OF REVIEW

       Pursuant to 28 U.S.C. § 636(b)(1), after the filing of a

Report and Recommendation, any party may serve and file written

objections to such proposed findings and recommendations.                        After

such filing,

             [a] judge of the court shall make a de novo
             determination of those portions of the report
             or    specified     proposed    finding    or
             recommendations to which objection is made. A
             judge of the court may accept, reject, or
             modify, in whole or in part, the findings or
             recommendations made by the magistrate.

28 U.S.C. § 636(b)(1).          A district court, however, may not reject

the credibility findings of a Magistrate Judge without conducting

an    evidentiary   hearing      in    which    the    district      court    has   the

opportunity to observe and evaluate witness credibility in the

first instance.      Cullen v. United States, 194 F.3d 401 (2nd Cir.

1999).

                                      DISCUSSION

       Following a de novo review of record, I affirm Judge Payson’s

recommendation      for   the    reasons       set    forth   in    her   Report    and

Recommendations dated November 10, 2005.                   It is clear from the

testimony adduced at the hearings that the confidential informants

had had extensive contact with the defendant.                      One informant had

known the defendant since 1997, and had worked closely with him on


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a daily basis. The other informant testified that an individual he

knew as “Melvin” was present at the location where drugs were being

sold.    Based on the testimony of the confidential informants, I

find that they had sufficient dealings with the defendant to be

able to reliably identify him despite the use in this case of an

unduly suggestive photographic array.         I therefore find that the

identifications of the defendant by the confidential informants

does not violate the defendant’s constitutional rights, and deny

his motion to suppress identification evidence.



                               CONCLUSION

     For the reasons set forth above, I affirm Judge Payson’s

November 10, 2005 Report and Recommendation deny defendant’s motion

to suppress identification evidence.




     ALL OF THE ABOVE IS SO ORDERED.



                                       S/ Michael A. Telesca
                                       ____________________________
                                           Michael A. Telesca
                                       United States District Judge
DATED:     Rochester, New York
           December 23, 2005




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